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                            EXHIBIT

                                  B
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  From: Patrick McGettigan pmcgettigan@inhousegc.com
Subject: Request to Confer on objections to RFP
   Date: May 3, 2023 at 1:08 PM
     To: Staci Vetterling SVetterling@hartlinebarger.com


       Staci:

       Prior to filing a motion on discovery objections, this is to request a date and time to confer
       with you on the Defendants objections to the Plaintiff’s RFP Nos. 10, 12,16,17, 18 19, 20
       and 21. A copy of the Response filed by Defendants is attached.

       I am available anytime tomorrow afternoon (5/4), Friday(5/5), Monday (5/8) or Tuesday
       (5/9). My preference is the earliest possible date that your schedule permits.

       Discovery cut-off is June 12. I intend to file the Motion early next week.

       Patrick McGettigan




        D Resp to RFP
         111422.pdf
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  From: Staci Vetterling SVetterling@hartlinebarger.com
Subject: Safety Vision v. LEI
   Date: May 17, 2023 at 9:15 AM
     To: Patrick McGettigan pmcgettigan@inhousegc.com


       Patrick,

       As we discussed, I am working with my clients in Taiwan to provide you with additional
       documents. I hope to have those to you by the end of the week. I am also working to
       confirm depositions as requested.

       Thanks,
       Staci

       Staci Vetterling
       Of Counsel
       Hartline Barger LLP
       1980 Post Oak Blvd., Suite 1800
       Houston, TX 77056
       T: (713) 951-4224
       F: (713) 951-4124
       svetterling@hartlinebarger.com
       HartlineBarger.com
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  From: Staci Vetterling SVetterling@hartlinebarger.com
Subject: Re: [EXTERNAL] Re: Safety Vision v. LEI
   Date: May 20, 2023 at 3:12 PM
     To: Patrick McGettigan pmcgettigan@inhousegc.com
    Cc: Mysti Pride mpride@inhousegc.com

       Correct, I cannot confirm the depo for Monday. I will work on a new date asap. I’m good to agree to extend discovery period to 6/30.

       Thanks,
       Staci

       Sent from my iPhone

         On May 20, 2023, at 2:09 PM, Patrick McGettigan <pmcgettigan@inhousegc.com> wrote:


         Staci:
         Per our phone call late yesterday afternoon, you indicated you had not received
         confirmation from Egger that he was intending to be present for his scheduled deposition
         for Monday, May 22. We agreed to wait until noon today before deciding to mutually
         agree on cancellation. Since you have not confirmed, I take it you have not received
         confirmation. Therefore, I am going to inform the court reporter and others that the
         deposition for Monday will not occur.

         Meanwhile, I am requesting your confirmation and a new date as soon as possible. I am
         available Tuesday or Wednesday.

         And, you should have the documents we have discussed for weeks, assuming you get
         assistance from Taiwan on the password.
         Expert deposition date? June 8?

         Let’s chat on Monday and enter into an agreement for completing discovery by June 30
         due to the communication difficulties in your reaching Lanner in Taiwan. If possible, I
         would like to reach an understanding that works for both of us without involving the Court
         if possible.

         Patrick McGettigan
         Attorney At Law
         2802 Flintrock Trace
         Suite 367
         Austin, Texas 78738

         512-748-8371 cell
         512-727-1879 fax
         www.inhousegc.com


         From: Staci Vetterling <SVetterling@hartlinebarger.com>
         Date: Wednesday, May 17, 2023 at 9:15 AM
         To: "pmcgettigan@inhousegc.com" <pmcgettigan@inhousegc.com>
         Subject: Safety Vision v. LEI

         Patrick,
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Patrick,

As we discussed, I am working with my clients in Taiwan to provide you with additional
documents. I hope to have those to you by the end of the week. I am also working to
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svetterling@hartlinebarger.com
HartlineBarger.com

<image001.png>
          Case 4:21-cv-03306 Document 13-2 Filed on 07/10/23 in TXSD Page 6 of 8


  From: Staci Vetterling SVetterling@hartlinebarger.com
Subject: RE: [EXTERNAL] Re: Safety Vision v. LEI
   Date: May 24, 2023 at 8:27 AM
     To: McGettigan pmcgettigan@inhousegc.com
    Cc: Mysti Pride mpride@inhousegc.com


       Patrick,

       Please see attached Rule 11 Agreement. I have also been about to talk to my overseas
       clients and should have additional documents and a deposition date shortly.

       Thanks,
       Staci

       Staci Vetterling
       Of Counsel
       Hartline Barger LLP
       T: (713) 951-4224

       From: McGettigan [mailto:pmcgettigan@inhousegc.com]
       Sent: Tuesday, May 23, 2023 4:50 PM
       To: Staci Vetterling <SVetterling@hartlinebarger.com>
       Cc: Mysti Pride <mpride@inhousegc.com>
       Subject: Re: [EXTERNAL] Re: Safety Vision v. LEI

       And? New date? Password fixed? Letter agreement on extension? Please advise asap.

       Patrick McGettigan




               On May 20, 2023, at 3:12 PM, Staci Vetterling
               <SVetterling@hartlinebarger.com> wrote:

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               Sent from my iPhone


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Case 4:21-cv-03306 Document 13-2 Filed on 07/10/23 in TXSD Page 7 of 8

        present for his scheduled deposition for Monday, May 22. We
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        on cancellation. Since you have not confirmed, I take it you have
        not received confirmation. Therefore, I am going to inform the
        court reporter and others that the deposition for Monday will not
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        discovery by June 30 due to the communication difficulties in your
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        understanding that works for both of us without involving the
        Court if possible.

        Patrick McGettigan
        Attorney At Law
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        Austin, Texas 78738

        512-748-8371 cell
        512-727-1879 fax
        www.inhousegc.com


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        Date: Wednesday, May 17, 2023 at 9:15 AM
        To: "pmcgettigan@inhousegc.com"
        <pmcgettigan@inhousegc.com>
        Subject: Safety Vision v. LEI

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        provide you with additional documents. I hope to have those to
        you by the end of the week. I am also working to confirm
        depositions as requested.

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        Staci

        Staci Vetterling
        Of Counsel
        Hartline Barger LLP
 Case 4:21-cv-03306 Document 13-2 Filed on 07/10/23 in TXSD Page 8 of 8

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           svetterling@hartlinebarger.com
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   Rule 11 re
discov…n.docx
